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 6 United States of America

 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            CASE NO. 1:20-MJ-00044-SAB

11                                 Plaintiff,             STIPULATION AND PROTECTIVE ORDER
                                                          BETWEEN THE UNITED STATES AND
12                           v.                           DEFENDANT JOSE FIGUEROA

13   JOSE FIGUEROA &                                      COURT: Hon. Barbara A. McAuliffe
     JOAQUIN VELASCO
14                                Defendants.

15

16          WHEREAS, the discovery in this case is voluminous and contains a large amount of personal

17 and confidential information including but not limited to dates of birth, telephone numbers, residential

18 addresses, and social security numbers (“Protected Information”); and

19          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

20 unauthorized disclosure or dissemination of this information to anyone not a party to the court
21 proceedings in this matter;

22          The parties agree that entry of a stipulated protective order is appropriate.

23          THEREFORE, Defendant JOSE FIGUEROA, by and through his counsel of record Christina

24 Corcoran (“Defense Counsel”), and the United States of America, by and through Assistant United

25 States Attorney Alexandre Dempsey, hereby agree and stipulate as follows:

26          1.       This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of

27 Criminal Procedure, and its general supervisory authority.

28          2.       This Order pertains to all discovery provided to or made available to Defense Counsel as


      [PROPOSED] PROTECTIVE ORDER                         1
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 1 part of discovery in this case (hereafter, collectively known as “the discovery”).

 2          3.       By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 3 documents that contain Protected Information with anyone other than Defense Counsel attorneys,

 4 designated defense investigators, and support staff. Defense Counsel may permit the Defendant to view

 5 unredacted documents in the presence of his attorney, defense investigators, and support staff. The

 6 parties agree that Defense Counsel, defense investigators, and support staff shall not allow the

 7 Defendant to copy Protected Information contained in the discovery. The parties agree that Defense

 8 Counsel, defense investigators, and support staff may provide the Defendant with copies of documents

 9 from which all Protected Information has been redacted.

10          4.       The discovery and information therein may be used only in connection with the litigation

11 of this case and for no other purpose. The discovery is now and will forever remain the property of the

12 United States of America (“Government”). Defense Counsel will return the discovery to the

13 Government or certify that it has been shredded or permanently destroyed at the conclusion of the case.

14          5.       Defense Counsel will store the discovery in a secure place and will use reasonable care to

15 ensure that it is not disclosed to third persons in violation of this agreement.

16          6.       Defense Counsel shall be responsible for advising the Defendant, employees, and other

17 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

18          7.       In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

19 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

20 this Order.
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      [PROPOSED] PROTECTIVE ORDER                         2
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 1        IT IS SO STIPULATED.

 2 Dated: March 18, 2020                        MCGREGOR W. SCOTT
                                                United States Attorney
 3

 4                                       By: /s/ALEXANDRE DEMPSEY
                                             ALEXANDRE DEMPSEY
 5                                           Assistant United States Attorney

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 7 Dated: March 18, 2020                  By: _/s/CHRISTINA CORCORAN___
                                              CHRISTINA CORCORAN
                                              Attorney for Defendant
 8                                            JOSE FIGUEROA
 9
                                          ORDER
10

11 IT IS SO ORDERED.

12
       Dated:   March 19, 2020                    /s/ Barbara A. McAuliffe      _
13                                         UNITED STATES MAGISTRATE JUDGE
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     [PROPOSED] PROTECTIVE ORDER            3
